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 FIDELITY NATIONAL TITLE & ESCROW
 OF HAWAII, INC. and ROMMEL GUZMAN

                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

ATOOI ALOHA, LLC, an Nevada               )   CIVIL NO. 16-00347 JMS RLP
Limited Liability Company, et al.         )
                                          )   JOINT STIPULATION FOR
                  Plaintiffs,             )   DISMISSAL WITHOUT
                                          )   PREJUDICE OF: (1)
      vs.                                 )   DEFENDANTS ABNER
                                          )   GAURINO, AURORA GAURINO
ABNER GAURINO, et al.                     )   AND ABIGAIL GAURINO’S
                                          )   CROSSCLAIM AGAINST
                  Defendants.             )   DEFENDANTS ROMMEL
                                          )   GUZMAN AND FIDELITY
                                          )   NATIONAL TITLE AND
                                          )   ESCROW OF HAWAII FILED ON
                                          )   JUNE 15, 2017 [DOC. #53]; AND
                                          )   (2) DEFENDANTS ROMMEL
                                          )   GUZMAN AND FIDELITY
                                          )   NATIONAL TITLE AND
                                          )   ESCROW OF HAWAII’S CROSS-
                                          )   CLAIM AGAINST DEFENDANTS
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                                          )    AURORA GAURINO, ABNER
                                          )    GAURINO, ABIGAIL GAURINO
                                          )    AND CRISTETA C. OWAN
                                          )    FILED ON JUNE 5, 2017 [DOC.
                                          )    #46-1]
                                          )

   JOINT STIPULATION FOR DISMISSAL WITHOUT PREJUDICE OF: (1)
  DEFENDANTS ABNER GAURINO, AURORA GAURINO AND ABIGAIL
 GAURINO’S CROSSCLAIM AGAINST DEFENDANTS ROMMEL GUZMAN
 AND FIDELITY NATIONAL TITLE AND ESCROW OF HAWAII FILED ON
  JUNE 15, 2017 [DOC. #53]; AND (2) DEFENDANTS ROMMEL GUZMAN
 AND FIDELITY NATIONAL TITLE AND ESCROW OF HAWAII’S CROSS-
 CLAIM AGAINST DEFENDANTS AURORA GAURINO, ABNER GAURINO,
  ABIGAIL GAURINO AND CRISTETA C. OWAN FILED ON JUNE 5, 2017
                              [DOC. #46-1]

      Defendants Abner Gaurino, Aurora Gaurino and Abigail Gaurino (“Gaurino

Defendants”), Defendants Rommel Guzman and Fidelity National Title and

Escrow of Hawaii (“Fidelity Defendants”), and Defendant Cristeta C. Owan

(“Owan”) acting through their respective counsel, and pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(ii) and 41(c), hereby stipulate to the dismissal without

prejudice of Gaurino Defendants’ Crossclaim Against Defendants Rommel

Guzman and Fidelity National Title and Escrow of Hawaii filed on June 15, 2017

[Doc. #53] and Fidelity Defendants’ Cross-Claim Against Defendants Aurora

Gaurino, Abner Gaurino, Abigail Gaurino and Cristeta C. Owan filed on June 5,

2017 [Doc. #46-1], and any and all claims asserted therein. Gaurino Defendants,

Fidelity Defendants and Owan will bear their own attorneys’ fees and costs.



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       Dated: Honolulu, Hawaii, February 6, 2018.



/s/ Wayne P. Nasser______________________
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  FUNDING CORPORATION


/s/ Thomas Yano______________________
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  ATOOI ALOHA, LLC, AN NEVADA LIMITED LIABILITY COMPANY, ET AL. V. ABNER GAURINO, ET
 AL.; CIVIL NO. 16-00347 JMS RLP; JOINT STIPULATION FOR DISMISSAL WITHOUT PREJUDICE OF: (1)
 DEFENDANTS/CROSSCLAIMANTS ABNER GAURINO, AURORA GAURINO AND ABIGAIL GAURINO’S
  CROSSCLAIM AGAINST DEFENDANTS ROMMEL GUZMAN; AND FIDELITY NATIONAL TITLE AND
 ESCROW OF HAWAII FILED ON JUNE 15, 2017 [DOC. #53] AND (2) DEFENDANTS ROMMEL GUZMAN
        AND FIDELITY NATIONAL TITLE AND ESCROW OF HAWAII’S CROSS-CLAIM AGAINST
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 ASSOCIATION OF APARTMENT OWNERS
 OF DIAMOND HEAD SANDS

              APPROVED AS TO FORM.

              DATED: Honolulu, Hawaii, February 9, 2018.




                                              /s/ J. Michael Seabright
                                             J. Michael Seabright
                                             Chief United States District Judge




__________________________________________________________________
  ATOOI ALOHA, LLC, AN NEVADA LIMITED LIABILITY COMPANY, ET AL. V. ABNER GAURINO, ET
 AL.; CIVIL NO. 16-00347 JMS RLP; JOINT STIPULATION FOR DISMISSAL WITHOUT PREJUDICE OF: (1)
 DEFENDANTS/CROSSCLAIMANTS ABNER GAURINO, AURORA GAURINO AND ABIGAIL GAURINO’S
  CROSSCLAIM AGAINST DEFENDANTS ROMMEL GUZMAN AND FIDELITY NATIONAL TITLE AND
 ESCROW OF HAWAII FILED ON JUNE 15, 2017 [DOC. #53]; AND (2) DEFENDANTS ROMMEL GUZMAN
        AND FIDELITY NATIONAL TITLE AND ESCROW OF HAWAII’S CROSS-CLAIM AGAINST
 DEFENDANTS AURORA GAURINO, ABNER GAURINO, ABIGAIL GAURINO AND CRISTETA C. OWAN
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